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                    EXHIBIT E
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                                 EXPERT REPORT
                      HOWARD M. NEWBURG, CPA, MST, CVA, CFF

The Class Representative and Class Counsel have retained as a damages expert Howard
Newburg, CPA, MST, CVA, CFF of Newburg & Company, LLP, 890 Winter Street, Suite 208
Waltham, MA 02451. Howard Newburg is the CEO and Managing Partner of Newburg &
Company, LLP. Howard has over forty years’ experience providing accounting, auditing, tax,
and business advisory services. He specializes in financial and estate planning, tax strategies and
compliance issues, litigation support, merger/acquisition transactions, business valuations,
executive benefits and general consulting in all financial and transactional areas. He earned his
Bachelor of Science degree in Business Administration from the University of Massachusetts at
Amherst, and a Master of Science in Taxation from Bentley College. He is a member of the
American Institute of Certified Public Accountants, Massachusetts Society of Certified Public
Accountants (where he serves on the Litigation Support Committee), National Association of
Certified Valuation Analysts, Association of Certified Fraud Examiners, Boston Estate Planning
Counsel, and the American Society of Appraisers.

       i.       Subject Matter Upon Which Expert is Expected to Testify:

Mr. Newburg is expected to testify in support of the damages the Class sustained as a result of
defendant’s conduct. He is excepted to testify that to a reasonable degree of accounting
certainty, the Class-wide damages are as follows:

Damages Based on the Implied Warranty of Habitability, Unjust Enrichment and Chapter 93A
Claims:

       Admitted Outage Class:                                          $4,146,882.00
       Construction Project Class:                                     $3,725,592.00

Damages Based on the Covenant of Quiet Enjoyment Claims:

       Total Damages:                                                $10,016,586.00

These damage calculations do not include other statutory damages such as attorneys’ fees, costs,
expenses or other damages that may be assessed by the Court as of right. Mr. Newburg also
reserves the right to supplement this opinion to account for changes in the rent records or
changes to the value of the demised property as found by the real estate appraisal expert retained
by the Class.

       ii.      Substance of the Facts and Opinions to Which the Expert is Expected to Testify:

The opinions of Mr. Newburg are based on his review of the defendant’s rent records, which
were provided by defendants Equity Residential Management, L.L.C. and EQR-Walden Park,
LLC (collectively “ERM”) during discovery in the above-referenced matter. These rent records
were displayed on an Excel spreadsheet that listed (among other items) the name of the tenant,
the monthly rent amount, and the dates of tenancy.



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The opinions of Mr. Newburg are also based on the expert report of John A. Regan, MAI of
Petersen LaChance Regan Pino, LLC. Mr. Regan is a real estate appraisal expert retained by the
Class to opine on the fair market value of the property that lacked heat and/or hot water on any
of the “Admitted Outage Class” days. He also opined on the fair market value of the property
during periods of construction relating to the “Construction Project Class.” In both instances,
Mr. Regan determined that the fair market value of the property on these affected dates was Zero
Dollars ($0.00). Mr. Newburg relied on Mr. Regan’s opinions in calculating damages.

Mr. Newburg is expected to testify that the application of the fair market value contained in the
opinion of Mr. Regan to the rent records provided by ERM during discovery resulted in the
damages to the Class as outlined above. Damages on the warranty of habitability, unjust
enrichment and Chapter 93A claims were calculated by determining the difference between the
value of the apartment as leased and the fair market value of the apartment (as found by the real
estate appraiser expert) that lacked heat, hot water and/or underwent construction. Damages on
the quiet enjoyment claims were based on liquidated damages equal to three month’s rent. See
G. L. c. 186, § 14. According to the rent records produced by ERM, there were 1534 tenants
listed with monthly rents for these tenancies totaling $3,338,862.00. Trebled, total Class
damages on the breach of the covenant of quiet enjoyment claim is $10,016,586.00.

       iii.    Grounds for Each Such Opinion

The grounds for the opinions to which Mr. Newburg is expected to testify are the facts and
assumptions as stated in subsections (i) and (ii) above, as well as Mr. Newburg’s training,
education and experience in the accounting field.


                                  EXPERT CERTIFICATION

I, Howard M. Newburg, pursuant to Superior Court Rule 30B, hereby certify that the foregoing
disclosure accurately states the matters on which I am expected to testify, the substance of facts
and opinions about which I am expected to testify, and the summary of the grounds for each
opinion to which I am expected to testify at trial.


                                              ______________________________________
                                              Howard M. Newburg, CPA, MST, CVA, CFF




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